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            Exhibit 1
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From REDACTED
Sent: Friday, July 11, 2014 12:02 PM
To: cmh176@gmail.com; anthony.notaro@gmail.com; Dennis Mehiel; Serpico, Robert; Hyman,
Shari; Forst, Robin; Dawson Gwen; T. Fleisher; Tessa Huxley
CC: mary@danielsquadron.org; Adrin Bonilla (abonilla@manhattanbp.nyc.gov)
Subject: re


Just a quick note on an email you may have received from Mr Greer . Our summer camp , a free
summer camp for over 150 families at PS/IS 276 is not breaking any rules. You can rely on Mr.
Greer getting the “story wrong” as sure as the sun rises . Mr. Greer stalks our programs and for
some reason is obsessed with me . We will again put police on alert as he has stalked our center
and insulted our staff.

Just to bring some up to date on this person . Mr Greer has continually harassed me and 30
other well-meaning community members and small business owners. . He has crossed the line
with insulting and angry calls to my staff , extorted people for cash , and had judgments against
him . We have called for intervention from the DA of Manhattan , Borough President and State
Attorney General. (Only the Attorney General has not seen this as a concern. But we hope to
inform him ) He has used governmental agencies to harass me, and other doctors and business
people in the community. He consistently accuses many of my fellow board members of illegal
motives when he is just in plain fantasyland. He uses the health department and licensing
agencies to harass people on a regular basis . He has sought to find out where I live and inquire
about my wife. He deserves to be in prison or at least under supervision for mental illness.

Life volunteering on the community board is made difficult when someone as unstable as this is
allowed to roam free. But he will not intimidate me .


Best Wishes enjoy the summer
           REDACTED




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